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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

UNITED STATES OF AMERICA              )
                                      )
vs.                                   )      No. CR218-50
                                      )
JAMAL GAINES,                         )
    Defendant.                        )

       MOTION TO TRANSFER JURISDICTION OF VIOLATION OF
                 FEDERAL SUPERVISED RELEASE

       COMES NOW James R. Newton, counsel for JAMAL GAINES, and files

this motion to transfer jurisdiction of the violation of Defendant’s Federal

supervised release.

       When Defendant was arrested on the instant case he was on Federal

supervised release in the Middle District of Florida. The arrest on the instant case

violated that supervised release and Defendant is facing revocation of his

supervised release in the Middle District of Florida. The case number of the

Middle District of Florida case is 3:06-cr-61 and the case is being supervised by

the Jacksonville, Florida probation office. It should be noted that the Middle

District of Florida has placed a hold on Defendant because of the supervised

release violation.

       In the interest of judicial economy and Defendant’s desire to place this

unfortunate incident behind him as quickly as possible, Defendant moves this
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Honorable Court to transfer the jurisdiction of his supervised release violation to

the Southern District of Georgia so Defendant can be sentenced on the instant case

and the violation of supervised release at the same time.

      Respectfully submitted this 8th day of May, 2019.

                                       /s/ James R. Newton
                                       JAMES R. NEWTON
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                         CERTIFICATE OF SERVICE

      This is to certify that I have on this day served all parties in this case in
accordance with the directives from the Court Notice of Electronic Filing (“NEF”)
which was generated as a result of electronic filing.

                                             /s/ James R. Newton
                                             JAMES R. NEWTON
                                             Attorney for Defendant
